                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                Plaintiff,        )    Civil Action No. ______
                                  )
     v.                           )    JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                Defendant.        )
                                  )

                               EXHIBIT A




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       Generated on: This page was generated by TSDR on 2021-01-13 09:25:57 EST
                 Mark: CBD MD




  US Serial Number: 86914580                                                        Application Filing Feb. 21, 2016
                                                                                                Date:
     US Registration 5173264                                                       Registration Date: Mar. 28, 2017
           Number:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Supplemental
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Cancellation/Invalidation Pending
            Descriptor:
                                                                                 This trademark application has been registered with the Office, but it is
                                                                                 currently undergoing a challenge which may result in its removal from the
                                                                                 registry.

        Amended to No                                                               Date Amended to Dec. 14, 2016
  Principal Register:                                                               Current Register:
               Status: A cancellation proceeding is pending at the Trademark Trial and Appeal Board. For further information, see TTABVUE on the
                       Trademark Trial and Appeal Board web page.
         Status Date: Apr. 24, 2019



                                                                   Mark Information
          Mark Literal CBD MD
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
          Disclaimer: "CBD"

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD
         International 003 - Primary Class                                              U.S Class(es): 001, 004, 006, 050, 051, 052
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Feb. 21, 2016                                               Use in Commerce: Feb. 21, 2016

                  For: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of the aforementioned
                       containing CBD
         International 005 - Primary Class                                              U.S Class(es): 006, 018, 044, 046, 051, 052
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Feb. 21, 2016                                               Use in Commerce: Feb. 21, 2016

                                                       Basis Information (Case Level)
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             Filed Use: No                                               Currently Use: Yes
             Filed ITU: Yes                                               Currently ITU: No
             Filed 44D: No                                               Currently 44E: No
             Filed 44E: No                                               Currently 66A: No
             Filed 66A: No                                           Currently No Basis: No
      Filed No Basis: No

                                               Current Owner(s) Information
          Owner Name: Majik Medecine, LLC
     Owner Address: 629 Village Lane South
                    Mandeville, LOUISIANA UNITED STATES 70471
   Legal Entity Type: LIMITED LIABILITY COMPANY                        State or Country LOUISIANA
                                                                      Where Organized:

                                            Attorney/Correspondence Information
                                                                Attorney of Record
     Attorney Name: Blynn L. Shideler
    Attorney Primary Blynn@BLKLawGroup.com                               Attorney Email Yes
     Email Address:                                                         Authorized:
                                                                  Correspondent
     Correspondent BLYNN L SHIDELER
     Name/Address: 3500 BROOKTREE ROAD, SUITE 200
                   WEXFORD, PENNSYLVANIA UNITED STATES 15090
                Phone: 724-934-5450                                                  Fax: 724-934-5461
   Correspondent e- blynn@blkLawGroup.com                              Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                        Prosecution History
                                                                                                           Proceeding
   Date              Description
                                                                                                           Number
Apr. 24, 2019      CANCELLATION INSTITUTED NO. 999999                                                    71109
Mar. 28, 2017      REGISTERED-SUPPLEMENTAL REGISTER
Feb. 22, 2017      LAW OFFICE PUBLICATION REVIEW COMPLETED                                               73797
Feb. 16, 2017      NOTICE OF ACCEPTANCE OF AMENDMENT TO ALLEGE USE E-MAILED
Feb. 15, 2017      APPROVED FOR REGISTRATION SUPPLEMENTAL REGISTER
Feb. 15, 2017      USE AMENDMENT ACCEPTED                                                                83184
Jan. 25, 2017      AMENDMENT TO USE PROCESSING COMPLETE                                                  73797
Dec. 14, 2016      USE AMENDMENT FILED                                                                   73797
Jan. 25, 2017      TEAS/EMAIL CORRESPONDENCE ENTERED                                                     73797
Jan. 25, 2017      CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 73797
Jan. 13, 2017      ASSIGNED TO LIE                                                                       73797
Dec. 14, 2016      TEAS RESPONSE TO OFFICE ACTION RECEIVED
Dec. 14, 2016      TEAS AMENDMENT OF USE RECEIVED
Jun. 14, 2016      NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Jun. 14, 2016      NON-FINAL ACTION E-MAILED                                                             6325
Jun. 14, 2016      NON-FINAL ACTION WRITTEN                                                              83184
Jun. 01, 2016      ASSIGNED TO EXAMINER                                                                  83184
Jun. 01, 2016      ASSIGNED TO EXAMINER                                                                  68110
Mar. 07, 2016      ASSIGNED TO EXAMINER                                                                  88569
Mar. 07, 2016      ASSIGNED TO EXAMINER                                                                  83184
Feb. 26, 2016      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Feb. 24, 2016      NEW APPLICATION ENTERED IN TRAM



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                                             TM Staff and Location Information
                                                               TM Staff Information - None
                                                                       File Location
     Current Location: PUBLICATION AND ISSUE SECTION                       Date in Location: Mar. 28, 2017

                                                                 Proceedings
     Summary
           Number of 1
         Proceedings:

                                                 Type of Proceeding: Cancellation

             Proceeding 92071109                                                  Filing Date: Apr 16, 2019
               Number:
                Status: Pending                                                  Status Date: Oct 26, 2020
            Interlocutory MIKE WEBSTER
                Attorney:
                                                                       Defendant
                 Name: Majik Medecine, LLC
       Correspondent BLYNN L SHIDELER
            Address: 3500 BROOKTREE ROAD, SUITE 200
                     WEXFORD PA UNITED STATES , 15090
     Correspondent e- blynn@blkLawGroup.com
                mail:
Associated marks
                                                                                                                               Serial           Registration
     Mark                                                       Application Status
                                                                                                                               Number           Number
CBD MD                                                       Cancellation Pending                                            86914580         5173264
                                                                       Plaintiff(s)
                 Name: CBDMD, LLC
       Correspondent RICHARD J OPARIL
            Address: ARNALL GOLDEN GREGORY LLP
                     1775 PENNSYLVANIA AVENUE NW, SUITE 1000
                     WASHINGTON DC UNITED STATES , 20006
     Correspondent e- richard.oparil@agg.com , caroline.maxwell@agg.com , scott.chambers@agg.com
                mail:
Associated marks
                                                                                                                               Serial           Registration
     Mark                                                       Application Status
                                                                                                                               Number           Number
CBDMD SYNERGY                                                Suspension Letter - Mailed                                      87613823
SYNERGY CBDMD                                                Suspension Letter - Mailed                                      87613850
                                                                  Prosecution History
     Entry Number          History Text                                                                          Date                     Due Date
1                        FILED AND FEE                                                                        Apr 16, 2019
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                             Apr 24, 2019              Jun 03, 2019
3                        INSTITUTED                                                                           Apr 24, 2019
4                        D MOT FOR EXT W/ CONSENT                                                             May 16, 2019
5                        EXTENSION OF TIME GRANTED                                                            May 16, 2019
6                        DUPLICATE FILING (NOT CONSIDERED)                                                    May 16, 2019
7                        D MOT TO DISMISS: FRCP 12(B)                                                         Jul 03, 2019
8                        SUSP PEND DISP OF OUTSTNDNG MOT                                                      Jul 11, 2019
9                        P MOT FOR EXT W/ CONSENT                                                             Jul 16, 2019
10                       SUSP PEND DISP OF OUTSTNDNG MOT                                                      Jul 24, 2019
11                       P OPP/RESP TO MOTION                                                                 Aug 22, 2019
12                       D MOT TO DISMISS: FRCP 12(B)                                                         Sep 11, 2019
13                       D MOT GRANTED IN PART; RESPONSE DUE                                                  Dec 30, 2019



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14     P AMENDED PET/CHANGE OF ADDRESS                                 Jan 21, 2020
15     P CORRECTED AMENDED PET FOR CANC                                Jan 22, 2020
16     D'S MOTION AND BRIEF UNDER RULE 12(E)                           Feb 14, 2020
17     P MOT FOR EXT W/O CONSENT                                       Apr 14, 2020
18     D OPP/RESP TO MOTION                                            Apr 14, 2020
19     ANSWER DUE                                                      Apr 16, 2020
20     D MOT FOR EXT W/ CONSENT                                        May 11, 2020
21     EXTENSION OF TIME GRANTED                                       May 12, 2020
22     ANSWER                                                          Jun 10, 2020
23     D MOT FOR JGT ON PLEADINGS                                      Jun 17, 2020
24     P OPP/RESP TO MOTION                                            Jul 14, 2020
25     SUSP PEND DISP OF OUTSTNDNG MOT                                 Jul 17, 2020
26     D REPLY IN SUPPORT OF MOTION                                    Jul 30, 2020
27     PROCEEDINGS RESUMED                                             Oct 26, 2020
28     D MOT FOR DISCOVERY SANCTIONS                                   Nov 11, 2020
29     STIP W/DRAWAL OF MOT FOR SANCTIONS AND RESETTING OF DEADLINES   Nov 19, 2020
30     TRIAL DATES RESET                                               Jan 08, 2021




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